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Revised 05/41 WDNY UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

FORM TO BE USED IN FILING A COMPLAINT
UNDER THE CIVIL RIGHTS ACT, 42 U.S.C. § 1983

 

 

(Prisoner Complaint Form)
1. CAPTION OF ACTION
A. Fall Name And Prisoner Number of Plaintiff: NOTE: Ifmore than one plaintiff files this action and seeks in jorma

pauperis status, each plaintiff must submit an in forma pauperis application and a signed Authorization or the only plaintiff ta be
’ considered will be the plaintiff who filed an application and Authorization.

1 Todd M. Evchich “Pro Se!

2.

 

-VS-

B. Full Name(s) of Defendant(s) NOTE: Pursuantto Fed.R.Civ.P. 10(a), the names ofall parties must appear in the'caption.
The court may not consider a claim against anyone not identified in this section asa defendant. Ifyou have more than six defendants,
you may continue this section on another sheet of paper if you indicate below that you have done so.

 

 

 

 

1. Michael Sutlivan 4._ Anthony Di sarno

. : fr.
2. Michael Delong 5. Brian Beiter alare
3. Limathy Ring : 6. Thomas Feeney

 

 

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2. STATEMENT OF JURISDICTION

 

This is a civil action seeking relief and/or damages to defend and protect the rights guaranteed by the Constitution of the

United States. This action is brought pursuant to 42 U.S.C. § 1983. Fhe Court has jurisdiction over the action pursuant to
28 U.S.C. §§ 1331, 1343(3) and (4), and 2201.

 

3. PARTIES TO THIS ACTION
PLAINTIFF’S INFORMATION NOTE: To list additional plaintiffs, use this format on another sheet of paper.
Name and Prisoner Number of Plaintiff; Todd N. Evchich LCN A O2/30 EC, B.C
Present Place of Confinement & Address, 4O Pe la WAS Ru Peal oO, NV. ¥ [ 4 AOR.

 

 

Name and Prisoner Number of Plaintiff:

 

 
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Present Place of Confinement & Address;

 

 

EFENDANT’S INFORMATION NOTE: To provide information about more defendants than there is room for here, use this
format on another sheet of paper.

Name of Defendant_N\ichael Sullivan

(if applicable) Official Position of Defendant. C ity of BulCa lo Polic e 0 PRic er _
(if applicable) Defendant is Sued in DX navi eaIor _><_Official Capacity

Address of Defendant: Wy Frank Lin Ctree £ R. if fal, VY tHxO a ~ Oxi

 

Name of Defendant, M chael Delo hg

~S —
(If applicable) Official Position of Defendant: Cc: by of BulPalo Police OFFi cer

(if applicable} Defendant is Sued in a Individual SYor xX Official Capacity -

Address of Defendant: 74 Fran Klin Streef Bul Calo, ALY HAR -4OW

 

 

Name of Defendant: i mothy Ri ng
(If applicable) Official Position of Defendant,__Lieu te, nant Caty of Rulfalo Police
(If applicable) Defendant is Sued in __ ><" Individualgeher ta officdt Capacity

Address of Defendant: MY Frow lin Street te CCale, Ni Y \y AS} ~ 40o4

 

 

4, PREVIOUS LAWSUITS IN STATE AND FEDERAL COURT

A. Have you begun any other lawsuits in state or federal court dealing with the same facts involved in this action?

Yes No_><

If Yes, complete the next section. NOTE: /f you have brought more than one lawsuit dealing with the same facts as this
action, use this format to describe the other action(s) on another sheet of paper.
1. Name(s) of the parties to this other lawsuit:

Piaintiff(sy,

 

Defendant(s):

 
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Case 1:04-0v-00510- Ars bag haslulment 1 _ Filed 07/14/04 Page 3, of 8

Caption OF Acton continaed

    

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/ Defendant |
Name! Thomas Kurdziel
Dedsndont Lnformation Note continved

Nome of Defendant! Anthony Disarnd
OFF cial hosition of Befendant: Butleate Municipal Housing Authority
He Pendant 1s Sued in xX. Tndividual and x OF Petal Capacity

Madbress of Defendant: NotiWown
me of Defentont: Brian Britzzalaro th

1Gid Position of efentant? RolPelo Municipal Housing Av ori Ty
Defendant ij Cot in ~ Trdividos| and X official Capacity

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Vo.me of Defendant: Thomas Feeney
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resy Of Delendant Not Known

 

Noone of Defendant: Thomas Kurdziel
Defeak postion : Defenlant; BofPale Municipal Rousing Authority

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2. Court (if federal court, name the district; if state court, name the county):
3. Docket or Index Number.

4. Name of Judge to whom case was assigned,

5. The approximate date the action was filed:

6. What was the disposition of the case?

Is it still pending? Yes No

 

If not, give the approximate date it was resolved.

 

Disposition (check the statements which apply):
Dismissed (check the box which indicates why it was dismissed):

By court sua sponte as frivolous, malicious or for failing to state a claim
upon which relief can be granted;

By court for failure to exhaust administrative remedies;

By court for failure to prosecute, pay filing fee or otherwise respond to a court |
order;

By court due to your voluntary withdrawal of claim;

Judgment upon motion or after trial entered for

plamtiff
defendant.
B. Have you begun any other lawsuits in federal court which relate to your imprisonment?
Yes No

 

 

If Yes, complete the next section. NOTE: if you have brought more than one other lawsuit dealing with your imprisonment,
use this same format to describe the other action(s) on another sheet of paper.

 

 

 

 

 

1. Name(s) of the parties to this other jawsuit:
Plaintifits).
Defendant(s):

2. District Court;

3. Docket Number;

 

4. Name of District or Magistrate Judge to whom case was assigned:

 

 
 

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5, The approximate date the action was filed,
6. What was the disposition of the case?

Is it still pending? Yes. No

 

 

If not, give the approximate date it was resolved.

 

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By court for failure to exhaust administrative remedies,

By court for failure to prosecute, pay filing fee or otherwise respond to a court
order;

By coust due to your voluntary withdrawal of claim,
Judgment upon motion or after trial entered for
plaintiff . a

____ defendant.

 

5. STATEMENT OF CLAIM

For your information, the following is a list of some of the most frequently raised grounds for relief in proceedings under 42
U.S.C. § 1983. (This list does not include all possible claims.)

« Religion + Access to the Courts * Search & Seizure

* Free Speech * False Amest * Malicious Prosecution

« Due Process + Excessive Force * Denial of Medical Treatment
+ Equal Protection * Failure to Protect * Right to Counsel

Please note that it is not enough to just list the ground(s) for your action. You must include a statement of the facts which
you believe support each of your claims. In other words, tell the story of what happened to you but do not use legal jargon.

Fed.R.Civ.P. 8(a) states that a pleading must contain “a short and plain statement of the claim showing that the pleader is
entitled to relief". "The function of pleadings under the Federal Rules is to give fair notice of the claim asserted. Fair notice
is that which will enable the adverse party to answer and prepare for trial, allow the application of res judicata, and identify
the nature of the case so it may be assigned the proper form of trial." Simmons v. Abruzzo, 49 F.3d 83, 86 (2d Cir. 1995).

Fed.R.Civ.P. 10(b) states that “[a]li averments of claim ... shall be made im numbered paragraphs, the contents of each of
which shall be limited as far a practicabie to a single set of circumstances.”

 
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xhausti dmijnistrative Remedies

Note that according to 42 U.S.C. § 1997e(a), “[nJo action shall be brought with respect to prison conditions under section
1983 of this title, or any other Federal law, by a prison er confined in any jail, prison, or other correctional facility until such
administrative remedies as are available are exhausted.”

You must provide information about the extent of your efforts to grieve, appeal, or otherwise exhaust your administrative
remedies, and you must attach copies of any decisions or other documents which mdicate that you b have exhausted your
remedies for each claim you assert in this action.

 

A. FIRST CLAIM: On (date of the incident) Macch, al A0O. H
defendant (give the name and position held of each defendant involved in this incident) Mi chac| Su li Yolk) oO

Dity af RuilCalo police abe: cer, Michael Delona City of Rulbale
Palice OE cen

did the following to me (briefly state what each defendant named above did): Sametime jn the afternoon on the corner |

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The constitutional basis for this claim under 42 U.S.C. § 1983 is: ' “und 1 OF

 
   

 

 

 

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& - ;
TVsth ama pro pen . Exhaustion of Your Administrative Remedies for this Claim:
Did you grieve or appeal this claim? Yes No If yes, what was the result?
Did you appeal that decision? Yes No If yes, what was the result?

 

 

Attach copies of any documents that indicate that you have exhausted this claim.

 
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ia
If you did not exhaust your administrative remedies, state why you did not do so: L haye Marke Bar 1 2iV\DS 'y yO
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1 Cees F-Q-OY, We Paaeda BACK

A. SECOND CLAIM: On (date of the incident) Mo. ech 2 a4 1 OGH

defendant (give the name and position held of each defendant involved in this incident) i
Anthony Di sarno Rico OF Rccr of B.A, Brion Bribe zalaco , Bois oe Officer eS BAM, HA. Theme
Feeney, ‘Bal fice OMicoy af RM ALA, Thos Ki Keke: eh alice ot iN bh CRMWA ~ Burials Manic: al | Hoses shy

. did the fcllowing to me (briefly state what each defendant named above did): Jan 4 c Z Thy

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The constitutional basis for this claim under 42 U.S.C. § 1983 is: bey remedy the. de priv ation “under C role Ststate } igw'f
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- c wid ehich am seeking for this claim is (briefiy state the relief sought): FAC 0) 6.0 Oe. &h COMPe dt. suck ory dav s i 2s Arh
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exhaustion af Your Administrative Remedies for this Claim:

 

Did you grieve or appeal this claim? Yes xX No If yes, what was the result?

 

Did you appeal that decision? Yes _-_No If yes, what was the result?

 

 

Attach copies of any documents that indicate that you have exhausted this claim.
if you did not exhaust your administrative remedies, state why you did not do so: AY ae\ weve Vhs A Wen 2 i Meith ube

Lygy et How: eve Ll id File Co bag. “hati ats ial, th the. Buttle Fok Loe? De par tment,

If you have additional claims, use the above format and set them out on additional sheets of paper.

 
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6. RELIEF SOUGHT.

  

Summarize the relief requested by you in each statement of claim above.

damages in his favor; in an arount
_Subei teat to compensa he Par Poin aut, inten ional infliction of emo tonal distress fhwich

was invlicted by the defendants doe te thier CX €-€ SSive Corce and Oni hore. to protec Ee
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Do you want a jury trial? Yes No

  

 

. [declare under penalty of perjury that the foregoing is true and correct.
Executed on / _ ! a ~ OY
. (date)
NOTE: Each plaintiff must sign this compiaint and must also sign all subsequent papers filed with the Court

 

 

fF) Pp Heck

Signature(s) of Plaintifi(s)
